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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE
 DEFINITION SERVICES INC., a British                 )
 Virgin Islands corporation,                         )
                         Plaintiff,                  )
                                                          C.A. No. 21-741-LPS
                                                     )
           v.
                                                     )
 GVA CAPITAL LTD., a Cayman Islands                  )
 exempted company,                                   )
                         Defendant.                  )

            PLAINTIFF’S REPLY IN SUPPORT OF ITS MOTION TO REMAND
       1.        GVA’s removal of this action from the Court of Chancery violated the parties’

contractual forum selection clause, in which GVA expressly agreed to “submit to the jurisdiction

and venue of, any state or federal court” located in Delaware, thereby waiving the ability to

remove.1 GVA argues that notwithstanding this clause, no waiver occurred because the forum

provision lacks the precise phrasing that was present in certain other cases. GVA is wrong. This

Court and the Third Circuit have held that no specific formulation is necessary to effect a waiver

of the ability to remove, and that similar provisions require remand. GVA’s argument that the

forum selection clause should be declared “unenforceable” because litigating in the Court of

Chancery would deprive GVA of a jury trial finds no support in the case law or logic, and would

have sweeping, destabilizing effects for Delaware forum selection clauses. GVA’s arguments do

not come close to satisfying the “strong showing” required to avoid its contractual commitment.

I.     GVA’S REMOVAL VIOLATED THE FORUM SELECTION CLAUSE.
       2.        In its Answering Brief, GVA conveniently omits mention of the standard governing

this Motion, requiring that the removal statute shall be “strictly construed against removal and all

doubts should be resolved in favor of remand.” Boyer v. Snap-On Tools Corp., 913 F.2d 108, 111

(3d Cir. 1990) (citation omitted). Therefore, “[r]emand is appropriate whenever any doubt exists


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           Capitalized terms shall have the meaning set forth in the Motion.
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as to whether removal was proper.” Carlyle Inv. Mgmt., L.L.C. v. Carlyle Cap. Corp., 800 F. Supp.

2d 639, 644 (D. Del. 2011). Under this standard, remand is plainly required here.

       A.      Controlling Authority Requires Remand and Cannot Be Distinguished.
       3.      GVA acknowledges that “forum selection clauses can amount to a waiver of the

right to remove” (D.I. 9 at 6), but argues that the particular language of the forum clause in the

parties’ contract here fails to use the exact wording necessary to do so. However, the law of this

District is clear that a contractual agreement to submit to jurisdiction in a certain court (or courts)

amounts to a waiver of the right to remove or transfer the case from such court. Parties need not

use prescribed phrasing to make such an agreement effective.

       4.      For example, in InterDigital, Inc. v. Wistron Corp., C.A. No. 15-478-LPS, 2015

WL 4537133, *1 (D. Del. June 18, 2015), the forum clause provided that “[t]he Parties irrevocably

consent to exclusive jurisdiction and venue of the state and federal courts in the State of Delaware.”

Relying on Foster v. Chesapeake Insurance Company, 933 F.2d 1207 (3rd Cir. 1991), this Court

concluded that “this language at least arguably constituted a waiver of the parties’ right to remove

should the other party to the [contract] choose to file in Delaware state court.” Id. This Court

remanded, explaining that “it would seem odd for parties who ‘irrevocably consent’ to sue one

another (if at all) in Delaware federal or state court to also agree that they can challenge (by way

of removal) each others’ decision to file in Delaware state court.” Id. (emphasis in original).

       5.      GVA attempts to distinguish InterDigital by noting that the forum selection clause

here does not use the term “irrevocably consent.” D.I. 9 at 12-13. This is a distinction without a

difference, given that the Operating Agreement provides that GVA “agrees to and does hereby

submit to the jurisdiction and venue of any state or federal court” located in Delaware. OA §

13.10 (emphasis added). The meaning of this language must be equivalent to the “irrevocable

consent” to jurisdiction and venue at issue in InterDigital—or the promise to “submit to”


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jurisdiction and venue in any Delaware court would be hollow. In fact, this Court was clear that

because “all doubt” must be resolved “in favor of remand,” and a contract need only “arguably”

effect a waiver, there are no magic words necessary to find that a forum clause waived the ability

to remove an action. InterDigital, 2015 WL 4537133, at *1 (rejecting argument that “the absence

of the word ‘waiver’ from [the forum provision] is decisive”).

       6.      This standard is easily satisfied here. GVA expressly agreed that it “does hereby

submit to” the jurisdiction and venue of “any” state or federal court in Delaware. As a result, when

Definition properly filed this case in the Court of Chancery, consistent with the forum clause, GVA

had already agreed to and submitted to the jurisdiction and venue of that court. A finding that

GVA could nonetheless remove, and thereby reject—and thereby not submit to—the Court of

Chancery’s jurisdiction and venue would entirely deprive the contractual language of its meaning.

       7.      GVA’s attempt to distinguish the forum clause at issue in Carlyle is equally flawed.

GVA notes that the clause there (unlike here) provided that each party “irrevocably waives” any

objection to jurisdiction and venue in the state or federal courts sitting in Delaware. See D.I. 9 at

11. But, such “waiver” language is not necessary to support remand; rather, the Court need only

determine that the contract language at issue is arguably inconsistent with removal.             See

InterDigital, 2015 WL 4537133, at *1. Moreover, the Carlyle court explained that while “both

the Court of Chancery and this court are appropriate forums” under the contract provision, once

the “plaintiffs chose an appropriate forum,” then defendants have committed themselves not to

object to that forum. 800 F. Supp. 2d 639 at 645. If the Operating Agreement is to be given effect,

it too means that either party may choose to sue in either state or federal court in Delaware, but

once that election has been made, the other party must accept the choice (i.e., “submit”) and cannot

contest or seek to change the forum.




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       8.      GVA recognizes that, to prevail, it must also differentiate this case from Foster. To

do so, GVA narrowly focuses on the presence of certain wording—specifically, “at the request of

the Company” and “such court”—in the Foster forum clause, and asserts that because those same

phrases are not included in the Operating Agreement, Foster is inapposite. D.I. 9 at 10-11. This

argument elevates form over substance.        Both InterDigital and Carlyle rely on Foster in

concluding that the (two different) forum provisions each required remand, although neither

contained the precise phrasing from Foster that GVA now claims is a necessary prerequisite to

support remand. The principle animating Foster, InterDigital, and Carlyle is the same, and does

not hinge on any particular formulation.2 Indeed, Foster, InterDigital, and Carlyle each involved

a forum provision that required litigation to be brought in the “state or federal” courts of a

particular jurisdiction (as does the Operating Agreement) and, based on this language, each held

that defendants had waived the ability to remove the case from state court—even though the case

could properly have been initiated in the federal court. Here, that same principle requires remand.

       B.      GVA’s Other Authorities Are Irrelevant
       9.      GVA also relies on Third Circuit cases that are irrelevant here. But even if

considered, those cases, too, support remand. For example, GVA cites to Cowatch v. Sym-Tech

Inc., 253 Fed. App’x. 231 (3rd Cir. 2007), in which the forum clause contained an express

statement that the defendant “waives any rights regarding diversity of jurisdiction pertaining to

this matter.” Unsurprisingly, the Third Circuit found that this language waived removal to federal

court. Id. at 234. GVA argues that only language as explicit as that in Cowatch can waive the

ability to remove. However, this argument misstates the limited holding of Cowatch and ignores



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         GVA does not even attempt to distinguish In re Excide Technologies, 544 F.3d 196, 218
(3rd Cir. 2008), where the Third Circuit held that a forum clause providing for suit in state or
federal courts in Cook County, Illinois waived removal.


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the rulings in Foster, InterDigital, and Carlyle, in which waiver was found without comparable

language. Similarly, GVA cites New Jersey v. Merrill Lynch & Co., 640 F.3d 545 (3rd Cir. 2011),

which involved a forum clause that selected the “courts of the State of New Jersey.” Again, the

Third Circuit found that this language waived removal to federal court. Id. at 549. But Merrill

Lynch does not hold that only this language can result in waiver. While Cowatch and Merrill

Lynch are further examples of forum provisions that effect a waiver of the ability to remove, they

do not require use of specific words for parties to accomplish that result and are consistent with

the holding in InterDigital that the inclusion or exclusion of a specific word or phrase is not

dispositive.

       10.     GVA also cites to several cases from districts outside of the Third Circuit. These

cases are easily distinguishable because they apply the “clear and unequivocal” standard to waivers

of the ability to remove, which contravenes Third Circuit law. See Cronin v. Family Educ. Co.,

105 F. Supp.2d 136, 137-38 (E.D.N.Y. July 26, 2000) (holding that “[t]he waiver of a party’s

statutory right to remove a case to federal court must be clear and unequivocal”); AmeriLink Corp.

v. Cerco, Inc., No. 4:95-CV-01498-DJS, 1996 WL 238525, *2 (E.D. Mo. May 3, 1996) (same);

Oberweis Dairy, Inc. v. Maplehurst Farms, Inc., No. 88-C-4857, 1989 WL 2078, *1 (N.D. Ill. Jan.

10, 1989) (same). In Foster, the Third Circuit expressly rejected this standard in the context of

contractual forum selection provisions. See Foster, 933 F.2d at 1218 n.15 (“In the context of

contractual waiver, however, we do not perceive the need for the ‘clear and unequivocal’

standard.”). As the Third Circuit explained:

       The “clear and unequivocal” standard . . . fails to consider the constrictive rather
       than expansive nature of the right of removal, in addition to serving no meritorious
       policy of litigation. It probably had its genesis in the notion, now discarded, that
       forum selection clauses were presumptively unenforceable as “contrary to public
       policy” or as an illegal attempt to “oust” the court’s jurisdiction. The Supreme
       Court has said that this notion is old fashioned and contrary to freedom of contract.


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Id. (emphasis added) (citing M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 10-12 (1972)).

GVA’s cases concerning whether certain forum selection language satisfied a stricter remand

standard than the one at issue here are simply inapposite.3

       11.     This leaves GVA to rely almost exclusively on Sanyo Electric Co. v. Intel Corp.,

C.A. No. 18-1709-RGA, 2019 WL 1650067 (D. Del. Apr. 17, 2019). In Sanyo, defendant removed

to federal court from the Court of Chancery because the claims purportedly arose under federal

patent law. Id. at *1-2. The plaintiff moved to remand, arguing that the defendant had waived its

ability to remove and because the claims did not implicate federal jurisdiction. Id. The District

Court granted the remand motion on the second ground, but declined to find a waiver based on the

forum clause. Id. at *11-15. In briefly discussing the forum clause, Sanyo did not cite to

InterDigital or Carlyle. Instead, Sanyo relied on its interpretation of Foster and on Periodical

Graphics, Inc. v. Spitz, 1994 WL 502506 (E.D. Pa. Sept. 14, 1994), which concluded that the

forum provision at issue was adopted for “geographic convenience,” and so did not waive the right

to remove. Specifically, Periodical involved an employment agreement’s forum clause, providing

litigation “may” be commenced in federal or state courts in Pennsylvania or, if the employee was

residing in Tennessee at the time, in the federal or state courts of Tennessee, “or in any other court

of competent jurisdiction.” The court found that the parties had specified Pennsylvania as a

permitted jurisdiction for geographic convenience and not as a waiver of the ability to remove. Id.

at *2-3.

       12.     The reasoning of Periodical, which Sanyo adopted, does not apply here. The forum



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          Cronin is further distinguishable given that the court, in part, relied upon the contra
proferentem doctrine and construed the forum provision against the drafter, which in that case was
the plaintiff seeking remand. See Cronin, 105 F. Supp. 2d at 138. Here, there is no assertion that
Definition (or its predecessor-in-interest) was the drafter of the Operating Agreement.


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provision in the Operating Agreement is not a permissive clause that merely recognizes potential

locations of geographic convenience.       The Operating Agreement’s forum clause is instead

mandatory, requiring that litigation “shall be brought in … any state or federal court located in the

[sic] Delaware.” This District and the Third Circuit have long acknowledged the distinction

between permissive and mandatory forum clauses. See Dawes v. Publish Am. LLLP, 563 Fed.

App’x. 117, 188, n.3 (3d Cir. 2014) (explaining that mandatory forum clauses are “entitled to a

presumption of enforceability” whereas the forum non conveniens standard applies to permissive

forum clauses).4 Moreover, the parties here plainly did not select Delaware for its “geographic

convenience,” but rather for its subject matter expertise: GVA is a Cayman Islands entity with

offices in California and Definition is a British Virgin Islands company. Neither party has a

presence in Delaware.      Rather, the courts within Delaware were chosen as the exclusive,

mandatory forum because Delaware law governs the Operating Agreement. This is an entirely

different context than the agreement in Periodical, which permitted litigation in courts most

convenient to the employer, or courts closest to the employee’s residence, reflecting a focus on

geographic convenience. Regardless, both Sanyo and Periodical are not controlling here and are

contrary to the weight of authority in this District. See, e.g., InterDigital, 2015 WL 4537133, at

*1; Carlyle, 800 F. Supp. 2d at 644.

II.    ENFORCEMENT OF THE FORUM CLAUSE IS NOT UNREASONABLE.
       13.     Seeking to avoid the controlling authority that supports remand of this action and

rewrite the forum clause to remove GVA’s submission to the jurisdiction and venue of the

Delaware state courts, GVA makes the unprecedented argument that the forum clause in the



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          The forum selection clause in Sanyo also was mandatory, rather than permissive, but the
court in that case did not discuss the significance of that distinction.


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Operating Agreement should be deemed “unenforceable” because it will result in this matter being

heard by the Chancellor in the Court of Chancery, rather than in this Court before a jury. However,

there is a strong presumption in favor of enforcing forum clauses, unless the clause is shown to be

unreasonable. See AGB Contemporary A.G. v. Artemundi LLC, 2021 WL 1929356, at *7 (D. Del.

May 13, 2021); M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 10 (1972). To do so, GVA bears

the burden of making a “strong showing” that either (a) the selected forum is “so gravely difficult

and inconvenient that he will for all practical purposes be deprived of his day in court;” or (b) the

forum clause was obtained through “fraud or overreaching.” Id. at 15, 18. GVA comes nowhere

close to satisfying this high bar.

        14.     GVA does not argue that the forum clause here is the result of fraud or

overreaching. Instead, GVA contends that because a jury trial is not available in the Court of

Chancery, litigating there would be “so gravely difficult and inconvenient that [it] will for all

practical purposes be deprived of [its] day in court.” D.I. 9 at 18. GVA cites no authority

supporting this sweeping position.5 While GVA refers to various cases concerning the contours

of the right to a jury trial in federal court, none of those cases conclude that enforcement of a forum

clause in favor of the Court of Chancery would be unreasonable. This action was properly filed

in the Court of Chancery and then removed to this Court in violation of the forum clause agreed

to by two sophisticated parties. Thus, this action should never have been in federal court at all. In

this context, GVA’s argument that the case must stay in federal court because of a federal right to


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          The only case cited by GVA that involved an even remotely similar context is Handoush
v. Lease Finance Group, LLC, 254 Cal. Rptr. 3d 461 (Cal. Ct. App. 2019). That case, decided
under the California state constitution and public policy principles, has no bearing on this case. It
held that California’s policy of invalidating pre-dispute waivers of the right to a jury trial could
not be circumvented by a forum and choice of law clause in favor of New York. GVA cannot
(and does not) contend that Delaware has a public policy invalidating all pre-dispute waivers of
the right to a jury trial.


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a jury trial makes no sense. See Marsh v. First USA Bank, N.A., 103 F. Supp. 2d 909, 920-22

(N.D. Tex. 2000) (“The Seventh Amendment right . . . is necessarily incident to, and predicated

upon the right to a federal judicial forum,” and, therefore, a valid arbitration provision “implicitly

waives the attendant right to a jury trial.”). Moreover, to accept GVA’s argument would be to

reward a breach of contractual obligations—and, in effect, to re-write the parties’ contract to one

that selects only courts of law in Delaware, and excludes courts of equity. This is improper.

Notably, in both InterDigital and Carlyle, the actions were remanded back to the Court of

Chancery without any suggestion that it was an “unreasonable” forum due to the unavailability of

a jury trial.6

        15.      What is more, even under the federal law concerning waiver of the right to a jury

trial, GVA’s position is wrong. The right to a jury trial plainly can be waived. U.S. v. Moore, 340

U.S. 616 (1951). And waiver can be implied, rather than express, so long as it is voluntary and

knowing. Seaboard Lumber Co. v. U.S., 903 F.2d 1560, 1563 (Fed. Cir. 1990). Critically, “[t]he

acceptance of contract provisions providing for dispute resolution in a forum where there is no

entitlement to a jury trial may satisfy the ‘voluntary’ and ‘knowing’ standard.” First Union

National Bank v. U.S., 164 F. Supp.2d 660, 663 (E.D. Pa. 2001). “In determining whether a waiver

was entered into knowingly, intentionally and voluntarily, courts consider such factors as: (1) the

negotiability of the contract terms; (2) any disparity in bargaining power between the parties; (3)

the business acumen of the party opposing the waiver; and (4) the conspicuousness of the jury

waiver provision.” In re DaimlerChrysler AG Sec. Litig., No. Civ. A. 00-993-JJF, 2003 WL

22769051, at *2 (D. Del. Nov. 19, 2003), aff’d sub nom., Tracinda Corp. v. DaimlerChrysler AG,


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         Similarly, in Sanyo (a case on which GVA heavily relies), a court in this District remanded
an improperly removed action to the Court of Chancery without any mention of that being an
unfair or otherwise unreasonable forum.


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502 F.3d 212, (3d Cir. 2007). Here, all of these factors support a finding that GVA voluntarily

and knowingly waived its right to a jury trial when it entered a contract that permitted either party

to initiate (and maintain) litigation in the Court of Chancery.

       16.     In that regard, GVA admits that it is a highly sophisticated investment manager.

D.I. 9 at 2-3. By agreeing to “submit” to the jurisdiction and venue of “any” state court in

Delaware, GVA undoubtedly knew that this would include the Court of Chancery, which it surely

also knew does not employ juries. If GVA was unwilling to have disputes about this investment

resolved in the Court of Chancery, it should have negotiated for a different forum clause. Notably,

GVA does not even address the first three factors noted above. GVA instead argues only that the

jury waiver here was inconspicuous because it was “‘lost in a sea’ of other forum and venue

language.” D.I. 9 at 14. This is nonsense. The forum clause here is straightforward and concise,

and it is precisely this clause that impliedly waives a jury trial. This is not a case where the waiver

of a right to a jury is created through a subtle or nuanced interaction of two separate or unrelated

clauses. See, e.g., Snowden v. Checkpoint Check Cashing, 290 F.3d 631, 638 (4th Cir. 2002)

(agreement to arbitrate implied waiver of jury trial); Gurfein v. Sovereign Grp., 826 F. Supp. 890,

921 (E.D. Pa. 1993) (same). GVA, an obviously sophisticated party, cannot claim that it was

unaware of the meaning or import of the clause. See Fleming & Hall, Ltd. v. Cope, 30 F. Supp.

2d 459, 463-64 (D. Del. 1998) (rejecting argument that agreement to litigate in Court of Chancery

was unreasonable). GVA’s argument that the Court of Chancery is an “unreasonable” forum for

these state law claims is factually and legally unsupported, and would have sweeping and

destabilizing implications for a wide range of Delaware forum selection clauses that do not contain

express jury trial waivers.

                                          CONCLUSION
       For the foregoing reasons, this Court should grant the Motion to Remand.


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